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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. _____ -cv- __________- _____

______________________________________,

       Plaintiff(s),

v.

______________________________________,

       Defendant(s).


 CONSENT/NON-CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED
        STATES MAGISTRATE JUDGE IN DIRECT ASSIGNMENT CASES
______________________________________________________________________

        Under 28 U.S.C. § 636(c) and D.C.COLO.LCivR 40.1(c) – Assignment of
Cases/Direct Assignment to Magistrate Judges, you are notified that this civil action has
been randomly assigned to a full time United States magistrate judge of this district to
conduct all proceedings in this civil action, including trial, and to order the entry of a final
judgment. Exercise of this jurisdiction by a magistrate judge, however, is permitted only if
all parties voluntarily consent to the reference under 28 U.S.C. § 636(c). An appeal from a
judgment entered by a magistrate judge shall be taken directly to the appropriate United
States Court of Appeals in the same manner as an appeal from any other judgment of a
district court.

        Consent to magistrate judge jurisdiction is voluntary, and no adverse consequence
shall result if consent is declined. If any party withholds consent, the identity of the parties
consenting or withholding consent will not be communicated to any magistrate judge or to
the district judge to whom the case has been assigned. Pursuant to D.C.COLO.LCivR
72.2, no district judge or magistrate judge, court official, or court employee may attempt to
influence the granting or withholding of consent to the reference of any civil matter to a
magistrate judge under this rule.

        You are directed to confer with all parties in this action and execute and file with the
Court the attached Election Concerning Consent/Non-Consent to United States
Magistrate Judge Jurisdiction, indicating either the unanimous consent of the parties or
that at least one party has declined to consent, at the earlier of (1) no later than seven
days before the scheduling conference, if any; or (2) 45 days after the filing of the first
response, other than an answer, to the operative complaint. All parties must either
consent to the exercise of magistrate judge jurisdiction, or any party may decline to
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consent. In either event, filing of the Election Concerning Consent/Non-Consent to
United States Magistrate Judge Jurisdiction is mandatory, indicating either the
unanimous consent of the parties or that at least one party has declined to consent.

        If all parties consent to magistrate judge jurisdiction, the magistrate judge shall
notify the Chief Judge or his/her designee, who shall determine whether to enter an order
of reference under 28 U.S.C. § 636(c). If an order of reference is entered, the magistrate
judge shall conduct all proceedings and order the entry of judgment. The Chief Judge, or
his/her designee, may sua sponte for good cause or on motion of a party for extraordinary
circumstances vacate the order of reference.

        Any party added to the civil action after reference to a magistrate judge shall be
notified by the clerk of the obligation to complete and file the mandatory
Consent/Non-Consent Form. If any added party does not consent to magistrate judge
jurisdiction within 21 days from the date of the notice, the civil action shall be assigned to
a district judge under D.C.COLO.LCivR 40.1(a), and the magistrate judge shall continue
on the case as if consent had been declined initially.

        If consent to magistrate judge jurisdiction is declined by any party, no order of
reference is entered or the order of reference is vacated, the civil action shall be assigned
to a district judge under D.C.COLO.LCivR 40.1(a), and the magistrate judge shall
continue on the case as if consent had been declined initially.

       A case assigned directly to a magistrate judge in which there is consent may be
assigned randomly to another magistrate judge to conduct an early neutral evaluation or
other alternative dispute resolution proceeding under D.C.COLO.LCivR 16.6.

        If after direct assignment, a magistrate judge recuses and the action is assigned to
another magistrate judge, each party shall complete an Election Concerning
Consent/Non-Consent to United States Magistrate Judge Jurisdiction no later than (a) 21
days after assignment to the successor magistrate judge; or (b) the deadlines imposed in
the third paragraph of this form, whichever is later.
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. _____ -cv- __________- _____

                                                  ,

       Plaintiff(s),

v.

                                                  ,

       Defendant(s).


           ELECTION CONCERNING CONSENT/NON-CONSENT TO
            UNITED STATES MAGISTRATE JUDGE JURISDICTION
______________________________________________________________________

       Under 28 U.S.C. § 636(c) and

       (1)     D.C.COLO.LCivR 40.1(c) (Assignment of Cases/Direct Assignment to
               Magistrate Judges);

       or

       (2)     Fed. R. Civ. P. 73 and D.C.COLO.LCivR 72.2 (Consent Jurisdiction of a
               Magistrate Judge);

       or

       (3)     D.C.COLO.LAPR 72.2 (Consent Jurisdiction of a Magistrate Judge).

                                       CHECK ONE

                  all parties in this civil action CONSENT to have a United States
magistrate judge conduct all proceedings in this civil action, including trial, and to order
the entry of a final judgment;

                                             OR

                at least one party in this civil action DOES NOT CONSENT to have a
United States magistrate judge conduct all proceedings in this civil action, including trial,
and to order the entry of a final judgment.
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      Signatures                        Party Represented                   Date

_________________________        _________________________           ________________

Print name_____________________________________________________________

_________________________        _________________________           ________________

Print name_____________________________________________________________

_________________________        _________________________           ________________


NOTE:       You are directed to confer with all parties in this action and execute and file
            with the Court this Election Concerning Consent/Non-Consent to United
            States Magistrate Judge Jurisdiction, indicating either the unanimous
            consent of the parties or that at least one party has declined to consent, at
            the earlier of (1) no later than seven days before the scheduling conference,
            if any; or (2) 45 days after the filing of the first response, other than an
            answer, to the operative complaint. All parties must either consent to the
            exercise of magistrate judge jurisdiction, or any party may decline to
            consent. In either event, filing of the Election Concerning
            Consent/Non-Consent to United States Magistrate Judge Jurisdiction
            is mandatory, indicating either the unanimous consent of the parties or that
            at least one party has declined to consent.
